Case 1:17-cv-21631-MGC Document 4-1 Entered on FLSD Docket 05/02/2017 Page 1 of 13




                              E X H IB IT A
Case 1:17-cv-21631-MGC   Document
      PART 3l-D ISCLO SURE         4-1 ON
                           AND INSPECTIEntered on FLSD
                                          OF DOCUM     Docket
                                                    ENTS       05/02/2017
                                                         -CivilPr           Page
                                                                 ocedure..Page     22of 13
                                                                               lof 1




      Y JUStiCe
      PA RT 31- D ISCLO SU RE A N D IN SPECTIO N O F
      D O CU M EN TS

      ContentsofthisPad

       Title                                            Num ber
       Scopenfthi
                s Part
       Meaning ofdiscl
                     osure                              Rule 31.2
       Rightofinspection ofa disclosed docum ent        Rule 31.3
       M eaning ofdocument                              Rule 31.4

       Discl
           osure                                        Rule 31.5
       Standard disclosure- whatdocuments are to be     Rule 31.6
       disclosed
       Dutyofsearch                                     Rule31.7
       Dutyofdisclosure li
                         m ited to documents whicbare   Rule31.8
       orhave been ina party'scontrol
       Discl
           osure ofcopies                               Rule 31.9
       Procedure forstandard di
                              sclosure                  Rule
                                                        31.10
       Dutyofdiscl
                 osure continuesduring proceedings      Rule
                                                        31.11
       Speci
           ficdi
               scl
                 osure oringpection                     Rule
                                                        31.12
       Di
        scl
          osure in stages                               Rule
                                                        31.13
       Documentsreferred to instatem entsofcaseetc.     Rule
                                                        31.14
       lnspecti
              onandcopying ofdocuments                  Rule
                                                        31.15
       Di
        sclosure before proceedings stad                 Rule
                                                         31.16
       Ordersfordisclosure againsta person nota part
                                                   y     Rule
                                                         31.17
       Rulesnotto limitotherpowers ofthecotld to order Rule
       disclosure                                      31.18
        Claim to withhold inspectionordisclosure ofa      Rule
        document                                          31.19
        Restriction on use ofaprivileged document         Rule
        inspection ofwhi ch has been inadvertentlyallowed 31.20




       http'
           .//w w.
                 justice.gov.
                            ukcouds/procedure-O les/civipm les/pad31         26/01/2017
Case 1:17-cv-21631-MGC   Document
      PART 31-DISCLOSI.IRE          4-1 ON
                           AN D INSPECTIEntered on FLSD
                                           OF DOCUM     Docket
                                                     ENTS -Civil05/02/2017    Page
                                                                Proeedure..Page     3 of 13
                                                                                2 of12



       Consequenceoffailure to disclose docum ents or
       perm itjnspection
       Subsequentuse ofdisclosed documentsand           Rule
       com pleted ElectronicDocumentsQ uestionnaires    :31.22
       False disclosurestatements                       Rule
                                                        31.23


      Scope ofthis Part


      (1)Thi
           sPadsetsoutrulesaboutthedisclosureandinspectionofdocuments.

      (2)ThisPadappli
                    estoaIlclaimsexceptaclaim onthesmal
                                                      lcl
                                                        aimstrack.



       M eaning ofdisclosure
       31.2 A part
                 y di
                    sclosesa documentby stating thatthe documentexistsorhasexisted.

       Backtotop

       Rightofinspection ofa disclosed docum ent
       31.3

       (1)A partytowhom adocumenthasbeendisclosedhasarighttoinspectthatdocumentexceptwhere-

       (a)thedocumenti
                     snoIongerinthecontrofofthepartywhodl
                                                        sclosedil;
       (b)thepart
                ydi
                  scl
                    osingthedocumenthasarightoradutytowi
                                                       thholdinspectionofit;

       (c)paragraph(2)applies;or

       (d)rule78.26applies.
       (RuIe31.8setsoutwhenadocumentisinthecontrolofapady)
       (Rule31.19setsoutthe procedureforclaimingarightordutytowithholdi
                                                                      nspection)
       (Rule78.26containsrulesinrelationtothedisclosuraandinspecti
                                                                 onofevidencearisingoutofmediationofcedai
                                                                                                        ncross-
       borderdisputes.
                     )
       (2)W hereapartyconsidersthati
                                   twouldbedispropodi
                                                    onatetotheissuesinthecasetopermitinspectionofdocuments
       withinacategoryorclassofdocumentdisclosedunderrule31.6(b)-
        (a)heisnotrequi
                      redtopermitinspectionofdocumentswithinthatcategoryorclass'
                                                                               ,but
        (b)hemuststateinhisdisclosure statementthatinspecti
                                                          onofthosedocumentswilnotbepermittedonthegroundsthat
       to dosowould be di
                        sproporti
                                onate.

        (Rul
           e31.
              6providesforstandarddisclosure)
        (RuI
           e31.10makesprovisionforadisclosurestatement)



        httpr//w wa
                  justiceagov.ubcouls/procedurll-nles/civil/m les/part31                            26/01/2017
Case 1:17-cv-21631-MGC   Document
      PART 31-DISCI-OSIJRE          4-1 ON
                           AND IN SPECTIEntered on FLSD
                                           OF DOCUM     Docket
                                                     ENTS -Civil05/02/2017    Page
                                                                Procedure...Page    42of 13
                                                                                 3of1



      (RuIe31.12 provi
                     desforapartytoapplyforanorderforspeci
                                                         fici
                                                            nspectionofdocuments)



      M eaning ofdocum ent
      31.4 InthisPart-

      'document'meansanything i
                              n whichinformation ofanydescription isrecorded'
                                                                            ,and

      'copy',in relation toa document,meansanything onto which informati
                                                                       on recorded inthe documenthas bflen copied,by
      whatevermeansandwhetherdirectlyorindireclly.




       D isclosure
       31.5

       (1)InaIIclaimstowhi
                         chrule31.5(2)doesnotapply-
       (a)anordertogi
                    vedi
                       sclosure i
                                sanordertogivestandarddi
                                                       scl
                                                         osureunlessthecourtdirectsotherwise;

       (b)thecoud maydi
                      spensewithorIimitstandarddisclosure'
                                                         ,and

       (c)thepadi
                esmayagreeinwritingtodi
                                      spensewithortolimitstandarddiscl
                                                                     osure.
       (2)Unl essthecoudotherwiseorders,paragraphs(3)to(8)applytoallmul
                                                                      ti
                                                                       -trackclaims,otherthanthosewhichincludea
       claim forpersonalinjuries.
       (3)Notl
             essthan14daysbeforethefi
                                    rstcasemanagementconferenceeacl)partymustfileandserveaI
                                                                                          eepodveri
                                                                                                  fi
                                                                                                   edby
       a statem entoftruth,which-

       (a)describesbrieflywhatdocumentsexistormayexistthatareormayberelevanttothemattersinissueinthecase'
                                                                                                        ,

       (b)describeswhereandwi
                            thwhom thosedocumentsareormaybeIocated'
                                                                  ,

       (c)inthecaseofelectronicdocuments,describeshow thosedocumentsarestored'
                                                                             ,
       (d)estimatesthebroadrangeofcoststhatcouldbeinvolvedingivingstandarddisclosureinthecase,includingthecosts
       ofsearching forand di
                           scl
                             osing any el
                                        ectronical
                                                 lystored documents'
                                                                   ,and

       (e)stateswhichofthedi
                           rectionsunderparagraphs(7)or(8)aretobesought.
       (4)lncaseswheretheElectronicDocumentsQuestionnairehasbeenexchanged,theQuesti
                                                                                  onnaireshouldbefiledwith
       thereportrequiredbyparagraph(3).
       (5)Notlessthansevendaysbeforethefrstcasemanagementconference,andonanyotheroccasionasthecourtmay
       direct,thepart
                    iesmust,ata meeting orbytei
                                              ephone,discuss and seek to agree aproposalin rel
                                                                                             ationtodisclosure that
       meetstheoverridingobjective.

       (6)If-
       (a)thepart
                iesagreeproposalsforthescopeofdisclosure'
                                                        ,and
       (b)thecoud considersthattheproposal
                                         sareappropri
                                                    ateinaIItheci
                                                                rcumstances,



       http'
           .//w w.
                 justice.gov.ubcouls/procedurtz
                                              r
                                              -mles/civipmles/pad31                                        26/01720l7
Case 1:17-cv-21631-MGC  Document
      PA RT 31-DISCLOSURE          4-1 ON
                          AND IN SPECTIEntered on FLSD
                                          OF DOCUM     Docket
                                                    ENTS -Civil05/02/2017    Page
                                                               Procedure...Page4 of5
                                                                                   12of 13



      the coud mayapprove them w i
                                 thouta hearingand give directionsin the terms proposed.

      (7)Atthefirstoranysubsequentcasemanagementcanference,thecoudwilldecide,havingregardtotheoverriding
      objectiveandtheneedtolimitdiscl
                                    osuretothatwhichi
                                                    snecessarytodealwiththecasejustl
                                                                                   y,whichoftl
                                                                                             nefollowing
      ordersto makein relationto disclosure-

      (a)anorderdispensingwithdi
                               sclosure'
                                       ,
      (b)anorderthatapadydi
                          sclosethedocumentsonwhichitrelies,andatthesametimerequestanyspecificdiscl
                                                                                                  osureit
      requi
          resfrom anyotherpady'
                              ,

      (c)anorderthatdirects,wherepracti
                                      cable,thedi
                                                sclosuretobegi
                                                             venbyeachpartyonanissuebyi
                                                                                      ssuebasis,
                                                                                               '

      (d)anorderthateachpadydiscloseanydocumentswhichi
                                                     tisreasonabletosupposemaycontaini
                                                                                     nfornlationwhich
       enablesthatpartyto advance its owncase orto damage thatofany otherpady,orwhich Ieadstoan enquirywhi
                                                                                                         ch has
       eitherofthoseconsequences;

       (e)anorderthatapadygi
                           vestandarddiscl
                                         osure'
                                              ,

       (f)anyotherorderi
                       nrelationtodisclosurethattbecourtconsi
                                                            dersappropriate.

       (8)Thecourtmayatanypoi
                            ntgivedirectionsasto how disclosureistobegi
                                                                      ven,andinparticular-
       (a)whatsearchesaretobeundedaken,ofwhere,forwhat,inrespectofwhichtimeperi
                                                                              odsandbywhonlandtheextent
       ofany searchforelectroni
                              callystored documents'
                                                   ,

       (b)whetheriistsofdocumentsarerequired'
                                            ,

       (c)how andwhenthedisclosurestatementi
                                           stobegiven;
       (d)i
          nwhatformatdocumentsaretobedisclosed(andwhetheranyidenti
                                                                 ficati
                                                                      onisrequiredl;
       (e)whatisrequiredinrel
                            ationtodocumentsthatonceexistedbbtnolongerexist;and

       (f)whetherdi
                  sclosureshalltakeplacei
                                        nstages.
       (9)Totheextentthatthedocumentstobedi sclosedareel
                                                       ectronic,theprovisionsofPracticeDirection3'IB- Discl
                                                                                                          osureof
       ElectronicDocumentswilapplyi
                                  nadditiontoparagraphs(3)to(8).

       Backto top

       Standard disclosure- whatdocum entsareto bedisclosed
       31.6 Standard di
                      scl
                        osure requires a part
                                            y to di
                                                  scl
                                                    ose only-

       (n)thcdocumontsonwhichherelies;and

       (b)thedocumentswhich-

       (i)adverselyaffecthisowncase;

       (i)adverselyaffectanotherparty'scase;or
       (ii)suppod anotherpady'scase;and
       (c)thedocumentswhichheisrequiredtodiscl
                                             osebyarelevantpracticedirecti
                                                                         on.



       http'
           .//w w.
                 justice.gov.ubcouds/procedurcr
                                              -mles/civivm les/pad31                                  26/01/2017
Case 1:17-cv-21631-MGC  Document
      PART 31-DISCLO SURE           4-1 ON
                          AN D IN SPECTIEntered on FLSD
                                           OF DOCUM     Docket
                                                     ENTS -Civil05/02/2017    Page
                                                                Procedure...Page    62of 13
                                                                                 5of1




      Backto top

      Dutx ofsearch


      (1)Whengivingstandarddi
                            scl
                              osure,apartyisrequire'
                                                   dtomakeareasonablesearchfordocumentsfallingwithinrule31.
                                                                                                          6
      (b)or(c).
      (2)Thefactorsrel
                     evantindeci
                               dingthereasonablenessofasearchi
                                                             ncludethefollowing-

      (a)thenumberofdocumentsinvolved'
                                     ,

      (b)thenatureandcomplexi
                            tyofthe proceedings'
                                               ,

      (c)theeaseandexpenseofretrievalofanypadicul
                                                ardocument'
                                                          ,and

      (d)thesigniscanceofanydocumentwhi
                                      chisIi
                                           kelytobelocatedduringthesearch.

       (3)Whereapadyhasnotsearchedforacategoryorcl
                                                 assofdocumentonthegroundsthattodosowouldbe
       unreasonable,he muststate this i
                                      n hisdi
                                            scl
                                              osure statementand identi
                                                                      fythecategor
                                                                                 'yorclassofdocument.

       (RuIe31.10makesprovi
                          sionforadisclosurestatement)

       Backto top

       Dut'yofdisclosurelim ited to docum entswhich areorhavebeen in a party'scontrol
       31.8

       (1)A party'sdutytodisclosedocumentsi
                                          sIimi
                                              tedtodocumentswhi
                                                              chareorhavebeeninhi
                                                                                scontrol.

       (2)Forthispurposeapadyhasorhashadadocumentinhiscontroli
                                                             f-

       (a)i
          tisorwasinhisphysicalpossession'
                                         ,
       (b)hehasorhashadarighttopossessionofit;or
       (c)hehasorhashadari
                         ghtto inspectortakecopi
                                               esofit.

       Backto top

       D isclosure ofcopies
       31.
         9

       (1)A partyneednotdisclosemorethanonecopyofadocument.
       (2)Acopyofadocumentthatcontainsamodi
                                          ficati
                                               on,obl
                                                    iterationorothermarkingorfeature-

       (a)onwhi
              chapartyi
                      ntendstorely'
                                  ,or
       (b)whichadverselyaffectshi
                                sowncaseoranotherparty'scaseorsupportsanotherparty'scase;

       shallbetreated asa separatedocument.




       htTr//w w.
                justice.gov.ubcouls/procedurcr
                                             ->les/civivOles/pad31                                      26/01/2017
Case 1:17-cv-21631-MGC Document
      PART 31-DISCLOSURE          4-1 ON
                         AN D INSPECTIEntered on FLSD
                                         OF DOCUM     Docket
                                                   ENTS       05/02/2017
                                                        -CivilPr             Page
                                                                oeedtlre..Page      72of 13
                                                                               6 of 1




      Procedureforstandard disclosure
      31-10

      (1)The procedureforstandarddiscl
                                     osureisasfollows.
      (2)Eachpartymustmakeandserveoneveryotherparty,alistofdocumentsintherelevantpracticeforn'l.
       (3)Thelistmustidenti
                          fythedocumentsinaconvenientorderandmannerandasconciselyaspossible.

       (4)TheIistmustindicat
                           e-
       (a)thosedocumentsinrespectofwhichthepadycl
                                                aimsarightordutytowithholdinspection'
                                                                                    ,and



       (i)thosedocumentswhicharenoIongerintheparty'
                                                  scontrot;and

       (i)whathashappenedtothosedocuments.
       (RuIe31.19(3)and(4)requireastatementintheli
                                                 stofdocumentsrelatingtoanydocumentsinspection afwhichaperson
       claimshehasarightordutytowithhold)
       (5)TheIi
              stmusti
                    ncfudeadisclosurestatement.
       (6)A disclosurestatementisastatementmadebythepartydiscl
                                                             osingthedocuments-
       (a)settingouttheextentofthesearchthathasbeenmadetoIocatedocumentswhi
                                                                          chheisrequiredtodiscl
                                                                                              ose'
                                                                                                 ,

       (b)cedifyingthatheunderstandsthedutytodisclosedocuments'
                                                              ,and

       (c)certi
              fyingthattothebestofhi
                                   sknowledgehehascarriedoutthatduty.
       (7)Wherethepartymakingthedisclosurestatementisacompany,firm,associationorotherorganisation,thestatement
       m ustalso-

       (a)identi
               fythepersonmakingthestatement;and
       (b)explainwhyheisconsideredanappropriatepersontomakethestatement.

       (8)Thepadiesmayagreeinwri
                               ting-
       (a)todi
             sclosedocumentswi
                             thoutmaki
                                     ngali
                                         st;and
       (b)todiscl
                osedocumentswi
                             thoutthedisclosingpartymakingadisclosurestatement.
       (9)A di
             sclosurestatementmaybemadebyapersonwhoisnotapart
                                                            ywherethisispermittedbyarel
                                                                                      ezantpractice
       direction.

        Backto top

        Duty ofdisclosurecontinuesduringproceedings



        http'
            .//w w.justice.gov.ukcouds/procedurl
                                               k
                                               l-m les/civium les/part3l                            26/01/2017
Case 1:17-cv-21631-MGC
                   O StJREDocument
      PART 31-DISCI.                4-1 IDN
                           AN D INSPECTI Entered on FLSD
                                            OF DOCUM  ENTSDocket 05/02/2017
                                                           -CivilPr             Page
                                                                   ocedure...Page 7 of 182 of 13




      (1)Anydutyofdisclosurecontinuesuntiltheproceedingsareconcluded.
      (2)lfdocumentstowhichthatdutyextendscometoaparty'snoticeatanytimeduringtheproceedings,h()must
      immediatel
               y notify every otherparty.

      Backto top

      Specificdisclosure orinspection
      31.12

       (1)Thecourtmaymakeanorderforspecificdisclosureorspecifici
                                                               nspection.
       (2)Anorderforspecifi
                          cdisclosureisanorderthatapartymustdooneormoreofthefoll
                                                                               owingthings-

       (a)disclosedocumentsorclassesofdocumentsspecifiedintheorder;

       (b)carf'
              youtasearchtotheextentstatedintheorder;

       (c)di
           scloseanydocumentsl
                             ocated asaresultofthatsearch.
       (3)Anorderforspecificinspecti
                                   onisanorderthatapartypermitinspectionofadocumentreferredtoinrul
                                                                                                 e31.
                                                                                                    3(2).

       (Ru1e31.342)allowsapartyto statei
                                       nhisdiscl
                                               osurestatementthathewillnotpermitinspectionofadocumentonthe
       groundsthatitwouldbedispropodi onatetodoso)
       (Rule78.26containsrulesinrelationtothedi
                                              scl
                                                osureandinspecti
                                                               onofevi
                                                                     dencearisingoutofmedi
                                                                                         ationofcertai
                                                                                                     ncross-
       borderdisputes.)
       Backto top

       Disclosure in stages
       31.13 The padies may agree in writing,orthe courtmaydirectkthatdisclosureorinspectionorboth shalltakeplace in
       stages.

       Backtotop

       Docum entsreferred to in statem entsofcaseetc.
       31.14

       (1)A padymayinspectadocumentmentionedin-

       (a)astatementofcase'
                          ,
       (b)awitnessstatement'
                           ,

       (c)awitnesssummary'
                         ,or

       (d)anaffi
               davi
                  ttGt.
                      )

        (e)Revoked.




        http://w w.
                  justice.gov.ubcouls/procedurkr-x les/civip> les/part31                                    26/01/2017
Case 1:17-cv-21631-MGC
      PART 31-DISCLO SUREDocument  4-1 ON
                          AN D INSPECTIEntered
                                          OF DOon FLSD
                                                CUM    Docket
                                                    ENTS       05/02/2017
                                                         -CivilPr             Page
                                                                 ocedure...Page 8 of 192of 13



      (2)Subjecttorule35.10(4),apartymayapplyforanorderforinspectionofanydocumentmentionedi
                                                                                          narIexpert'srepod
      whichhasnotalready been disclosed inthe proceedinl
                                                       ps.

      (Ru1
         e35.10(4)makesprovi
                           sioninrelati
                                      ontoinstructioqsreferredtoinanexped'srepof
                                                                               l)

      Backto top

      Inspection and copying ofdocum ents
      31.15 W here a partyhas a rightto inspectadocumerlt-

       (a)thatpartymustgivethepartywhodisclosedthedch
                                                    cumentwri
                                                            ttennoticeofhiswi
                                                                            shtoinspecti
                                                                                       t'
                                                                                        ,
       (b)thepadywhodisclosedthedocumentmustpermitinspectionnotmorethan7daysafterthedateonwhi
                                                                                            chhereceived
       the notice'
                 ,and

       (c)thatpart
                 ymayrequestacopyofthedocumentand,ifhealsoundertakestopayreasonabfecopyingcasts,thepady
       whodisclosedthe documentmustsuppl
                                       y him with a copynotmore than 7days afterthe dateon which hereceived the
       request.

       (Ru1e31.3and31.14dealwiththerightofapartytoinspectadocument)

       Backtotop

       Disclosurebeforeproceedingsstart
       31.16
       (1)ThisruleapplieswhereanapplicationismadetothecourtunderanyActfordiscl
                                                                             osurebeforeproceedingshave
       started1.

       (2)Theappli
                 cationmustbesupportedbyevidence.

       (3)Thecoudmaymakeanorderunderthisrul
                                          eonlywhere-
       (a)therespondentislikel
                             ytobea partyto subsequentproceedings'
                                                                 ,
       (b)theappli
                 cantisal
                        so I
                           ikel
                              ytobeapartytothoseproceedings'
                                                           ,
       (c)i
          fproceedingshadstaded,therespondent'sdutybywayofstandarddisclosure,setouti
                                                                                   nrule31.6,wotlldextendto
       the documentsorclassesofdocuments ofwhich theapplicantseeksdisclosure'
                                                                            ,and

        (d)disclosurebeforeproceedingshavestadedisdesirabl
                                                         einorderto-

        (i)disposefairlyoftheanticipatedproceedings'
                                                   ,

        (ii)assistthedisputetoberesolvedwi
                                         thoutproceedings'
                                                         ,or

        (iii)savecosts.
        (4)Anorderunderthisrul
                             emust-
        (a)specifythedocumentsortheclassesofdocumentswhi
                                                       chtherespondentmustdisclose'
                                                                                  ,and

        (b)requirehim,whenmakingdisclosure,tospecifyanyofthosedocuments-




        http'
            .//www.
                  justice.gov.utcouMs/procedurd
                                              k
                                              t-mles/civivales/pad3l                                   26/01/2017
Case 1:17-cv-21631-MGC   Document
      PA RT 31-DISCLO SURE          4-1 ON
                           AN D INSPECTIEntered on FLSD
                                           OF DOCUM     Docket
                                                     ENTS -Civil05/02/2017    Page
                                                                Procedure...Page9 of10
                                                                                    12 of 13



      (i)whi
           charenoI
                  ongeri
                       nhiscontrol;or
       (ii)inrespectofwhi
                        chheclaimsari
                                    ghtordutytowithholdinspecti
                                                              on.

       (5)Suchanordermay-
       (a)requiretherespondenttoindicatewhathashappenedtoanydocumentswhichare nol
                                                                                ongerinhiscorl
                                                                                             trol'and

       (b)speci
              fythetimeandpl
                           acefordisclosureandinspection.
       (RuIe78.26containsrul
                           esi
                             nrelati
                                   ontothedi
                                           sclosureandi
                                                      nspectionofevidencearisingoutofmedi
                                                                                        ationofcertai
                                                                                                    ncross-
       borderdisputes.)


       Ordersfordisclosureagainstaperson notaparty
       31.17

       (1)Thisruleappl
                     ieswhereanappli
                                   cati
                                      onismadetothecoudunderanyActfordi
                                                                      sclosurebyapersonwhoisnotaparty
       to the proceedingsz.

       (2)Theapplicati
                     onmustbesuppodedbyevi
                                         dence.
       (3)Thecoudmaymakeanorderunderthisruleonlywhere-
       (a)thedocumentsofwhichdisclosureissoughtarelikelytosuppodthecaseoftheapplicantoradverselyaffectthecase
       ofone ofthe otherpartiesto the proceedings,
                                                 'and

       (b)di
           sclosureisnecessaryinordertodi
                                        sposefairlyoftheclaim ortosavecosts.

       (4)Anorderundgrthi
                        srulemust-
       (a)specifythedocumentsortheclassesofdocumentswhi
                                                      chtherespondentmustdisclose'
                                                                                 ,and

       (b)requiretherespondentwhenmakingdisclosure,tospecifyanyofthosedocuments-

       (i)whicharenoI
                    ongerinhiscontrol-
                                     ,or
       (i)inrespectofwhi
                       chheclaimsarightordutytowi
                                                thholdinspecti
                                                             on.

       (5)Suchanordermay-
       (a)requiretherespondenttoindicatewhathashappenedtoanydocumentswhicharenolongeri
                                                                                     nhi
                                                                                       scontrol;and

        (b)specifythetimeandplacefordisclosureandinspection.
        Rule 78.26 contains rules inrel
                                      ationtothedisclosure and inspectionofevi
                                                                             dence arising outofmediation ofcertaincross-
        borderdisputes.)
        Back to top

        Rulesnotto lim itotherpowersofthecourtto orderdisclosure
        31.18 Rules31.16 and 31.17 do notIimitanyotherpowerwhich the coud may have to order-




        http://o w.
                  justice.gov.u/couls/procedurti
                                               r-a les/civipmles/pad31                                       26/01/2017
Case 1:17-cv-21631-MGC Document
      PART 31-DISCLOSURE          4-1
                         AND IN SPEI7. Entered
                                     TII       on FLSD
                                       AN OF DOCUM     Docket
                                                    ENTS -Civil05/02/2017
                                                               Procedu... PagePage
                                                                               10 of11
                                                                                    12 of 13



      (a)disclosurebeforeproceedingshavestarted.and
       (b)discl
              osureagainstapersonwhoisnotapartytoproceedings.

       Backto top

       Claim to withhold inspection ordisclosureofadocum ent
       31.19
       (1)A personmayapply,wi
                            thoutnotice,foranorderpermi
                                                      ttinghim towi
                                                                  thholddi
                                                                         scl
                                                                           osureofadocumentonthegroundthat
       disclosurewoulddamage the publicinterest.

       (2)Unlessthecourtordersotherwise,anorderofthecoudunderparagraph(1)-

       (a)mustnotbeservedonanyotherperson'
                                         ,and

       (b)mustnotbeopentoinspectionbyanyperson.
       (3)A personwhowishestoclaim thathehasari
                                              ghtoradutytowi
                                                           thholdinspectionofadocument,orpartofadocument,
       muststate inwriting -

       (a)thathehassucharightorduty;and
       (b)thegroundsonwhichheclaimsthatrightorduty.
       (4)Thestatementreferredtoinparagraph(3)mustbemade-

       (a)inthel
               istinwhichthedocumentisdisclosed'
                                               ,or
       (b)iftilereisnolist,tothepersonwishingtoinspectthedocument.
        (5)A padymayappl
                       ytothecourttodecidewhetheraclaim madeunderparagraph(3)shouldbeuphel
                                                                                         d.
        (6)Forthepurposeofdecidinganapplicationunderparagraph(1)(appl
                                                                    icationtowithholddisclosure)orparagraph(3)
        (claim towi
                  thholdinspection)thecoudmay-
        (a)requirethepersonseekingtowithholddisclosureorinspecti
                                                               onofadocumenttoproducethatdocumenttothecourt;
        and

        (b)inviteanyperson,whetherornotaparty,tomakerepresentations.
        (7)Anapplicationunderparagraph(1)orparagraph(5)mustbesuppodedbyevidence.
        (8)ThisPartdoesnotaFectanyruleoflaw whi
                                              chpermi
                                                    tsorrequiresadocumenttobewi
                                                                              thheldfrom di
                                                                                          scl
                                                                                            osureor
        inspectionon the groundthati
                                   tsdisclosureorinspecti
                                                        onwoulddamage the publicinterest.

        Backto top
        Restriction on use ofaprivileged docum entinspection ofwhich hasbeen inadvertently
        allowed
                                          lowsa pfivil
                                                     egedtGo documentto be inspected,thepadywho hasinspectedthe
         31.20 W here a party i
                              nadvedentl
                                       y al
         documentmay use i  toritscontentsonlywith the permission ofthecourt.

         Backto top



         httpr//w w.
                   justice.gov.ukcouds/procedufe-mles/civiFmles/pal3l                                   26/01/2017
Case 1:17-cv-21631-MGC  Document
       PART 31-DISCLOSURE         4-1 Entered
                          AN D INSPECTI       on FLSD
                                       ON OF DOCUM    Docket
                                                   ENTS -Civil05/02/2017     Page
                                                               Procedu... Page llof12
                                                                                   12 of 13



       Consequenceoffailureto disclosedocttm entsorperm itinspection
       31.21 A partymay notrely on anydocum entwhich hefailsto discloseorin respectofwhi
                                                                                       ch he failsto permitinspection
       unlessthe courtgivespermi
                               ssion.



       Subsequentuseofdisclosed docum entsand com pleted ElectronicDocum ents
       Questionnaires
       31.22
       (1)A padytowhom adocumenthasbeendi
                                        sclosedrnayusethedocumentonl
                                                                   yforthepurposeofthepraceedingsin
       which i
             tisdiscl
                    osed,exceptwhere -
       (a)thedocumenthasbeenreadtoorbythecourt,orreferredto,ataheari
                                                                   ngwhichhasbeenheldinpubli
                                                                                           c'
                                                                                            ,

       (b)thecoudgiv'
                    espermission;or
       (c)thepartywhodi
                      sclosedthedocumentandthepersontowhom thedocumentbel
                                                                        ongsagree.
       (2)Thecourtmaymakeanorderrestrictingorprohibitingtheuseofadocumentwhi
                                                                           chhasbeendiscl
                                                                                        osed,evenwhere
       thedocumenthas been read to orbythe coud,orreferred t(),ata hearing whi
                                                                             ch hasbeen heldin publ
                                                                                                  ic.

       (3)Anapplicationforsuchanordermaybemade-

        (a)byaparty'
                   ,Or
        (b)byanypersontowhom thedocumentbelongs.
        (4)Forthepurposeofthisrule,anElectronicDocumentsQuestionnai
                                                                  rewhichhasbeencompl
                                                                                    etedandservedbyanother
        palty pursuantto Practice Direction31B isto bo troated as i
                                                                  fiti
                                                                     sa documentwhi
                                                                                  chhas been di
                                                                                              scl
                                                                                                osed.

        Backto top

        False disd osure statem ents
        31.23
        (1)Proceedi
                  ngsforcontemptofcourtmaybebroughtagainstapersonifhemakes,orcausestobematl
                                                                                          e.afalse
        discl
            osure statement,wi
                             thoutan honestbeli
                                              efinitstruth.

        (Secti
             on6ofPad81contai
                            nsprovi
                                  sionsinrelationtocommittalformakingafalsediscl
                                                                               osurestatement.)



        Backto top

        Footnotes
                An applicationfordiscl
                                     osure before proceedingshave start
                                                                      ed i
                                                                         s permitted undersection33 oftheSupremeCourt
                Act1981(c.54)orsection52oftheCountyCoudsAct1984(c.28).Backtotext
                An applicati
                           on fordisclosure agai
                                               nsta person who is notapadytoproceedingsispermitted unde'section 34 ofthe
                SupremeCourtAct1981(c.54)orsection53oftheCountyCoudsAct1984(c.28).Backtotext




        http'
            .//w w.
                  justice.gov.
                             ukcouls/procedurl
                                             z-Oles/civivm les/pad3l                                         26/01/2017
Case 1:17-cv-21631-MGC  Document
       PART 31-DISCLOSURE        4-1 Entered
                          AND INSPECTI       on FLSD
                                      ON OF DOCU     Docket
                                                 M ENTS -Civil05/02/2017     Page
                                                               Procedu... Page 12 of13
                                                                                    12 of 13




        http://-   .
                   justice.gov.ubcouds/procedurtk
                                                l-mles/civivmles/pad3l        26/01/2017
